Case 2:18-cv-01318-RAJ Document 1-2 Filed 09/07/18 Page 1 of 23




                EXHIBIT 1
                    Case 2:18-cv-01318-RAJ Document 1-2 Filed 09/07/18 Page 2 of 23




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 18610716
Notice of Service of Process                                                                            Date Processed: 08/23/2018

Primary Contact:           Sandra Adams
                           United Services Automobile Association
                           9800 Fredericksburg Rd
                           San Antonio, TX 78288-0002

Electronic copy provided to:                   Carmen Solis
                                               Debra Brake
                                               Jenna Meurer
                                               Danielle Lopez
                                               Ruby Esquivel

Entity:                                       USAA Casualty Insurance Company
                                              Entity ID Number 3692525
Entity Served:                                USAA Casualty Insurance Company
Title of Action:                              Lisa Kristin Stanislaw vs. USAA Casualty Insurance Company
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Contract
Court/Agency:                                 King County Superior Court, Washington
Case/Reference No:                            18-2-20254-0 SEA
Jurisdiction Served:                          Washington
Date Served on CSC:                           08/23/2018
Answer or Appearance Due:                     20 Days
Originally Served On:                         WA Insurance Commissioner on 08/16/2018
How Served:                                   Certified Mail
Sender Information:                           Melissa D. Carter
                                              206-682-0300

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
                      Case 2:18-cv-01318-RAJ Document 1-2 Filed 09/07/18 Page 3 of 23

                                                      STATE OF WASHINGTON
         MIKE ia2EIDLER                                                                                www.insurance.wa.gov
STATE INSURANCE COMMISSIONER                               ~




                                                           ~~L~s • N3N~~S~,

                                                            OFFICE OF
                                               INSURANCE COMMISSIONER




Certificate number 17922 is being issued to certify that the Insurance Commissioner of the State of Washington (OIC) has
ACCEPTED service of process in the matter below.



Date Service of Process Accepted:    08/16/2018

Certificate Issued:                  08/17/2018

Issued By:                           Jennifer Rhodes

Certificate Type:                    First Attempt    (J

Certified Mailing Number:            70180680000047178760

Service Requested Upon:              USAA CASUALTY INSURANCE COMPANY
                                     CORPORATION SERVICE COMPANY
                                     300 DESCHUTES WAY SW SUITE 304
                                     TUMWATER, WA 98501 US

Authorized in Washington:            Yes

Attorney Details:                    MELISSA D CARTER
                                     ADLER GIERSCH, P.S.
                                     333 TAYLOR AVE N
                                     SEATTLE, WA 98109 US
                                     (206) 682-0300

Case Number:                         18-2-20254-0 SEA

Plaintiff:                           LISA KRISTIN STANISLAW,

Defendant:                           USAA CASUALTY INSURANCE COMPANY,

Documents:                           CASE INFORMATION COVER SHEET AND AREA DESIGNATION
                                     ORDER SETTING CIVIL CASE SCHEDULE
                                     SUMMONS ON COMPLAINT FOR DAMAGES
                                     COMPLAINT FOR DAMAGES

Copies Sent To:                      MELISSA D CARTER
                                     USAA CASUALTY INSURANCE COMPANY




                                     Mailing Address: P.O. Box 40255 Olympia, WA 98504-0255
                                           Phone: (360)725-7009 Email: SOP@oic.wa.gov
         Case 2:18-cv-01318-RAJ Document 1-2 Filed 09/07/18 Page 4 of 23

                                                                                  Insurance Commissioner
                                                                                  ACCEPTED SO P
                                                                                     AUG 16 2018
                                                                                   TIME•   2




                              SUPERIOR COURT OF WASHINGTON
                                     COUNTY OF KING
Lisa Kristin Stanislaw

                                                    NO. 18-2-20254-0 SEA

 VS
                                        CASE INFORMATION COVER SHEET
 United Services Automobile Association AND AREA DESIGNATION




                                    CAUSE OF ACTION
 (TMV) -                 NON-DEATH INJURIES (TMV 2)


                                       AREA DESIGNATION
                         Defined as all King County north of Interstate 90 and including all
 SEATTLE -
                         of Interstate 90 right of way, all of the cities of Seattle, Mercer
                         Island, Issaquah, and North Bend, and all of Vashon and Maury
                         Islands.
            Case 2:18-cv-01318-RAJ Document 1-2 Filed 09/07/18 Page 5 of 23
                                                                                             Insurance Commissioner
                                                                                             ACCEPTED SOP
                                                                                                 AUG 16 2018
                                                                                               TIME• ~




                           IN TIiE SUPERIOR COURT OF TIIE STATE OF WASHINGTON
                                      IN AND FOR THE COUNTY OF HING
Lisa Kristin Stanislaw

                                             I No.      18-2-20254-0 SEA
                                  Plaintiff(s), ORDER SETTING CIVII, CASE SCHEDULE
 vs.
                                               ASSIGNED JUDGE: Amini, Susan, Dept. 20
 United Services Automobile
 Association                                   FILED DATE: 8/10/2018
                               Respondent(s) TRIAL DATE: 8/12/2019
                                              SCOMIS CODE: *ORSCS

A civil case has been filed in the King County Superior Court and will be managed by the Case Schedule on Page 3 as
ordered by the King County Superior Court Presiding Judge.

                                                     L NOTICES

NOTICE TO PLAINTIFF: The Plaintiff may serve a copy ofthis Order Setting Case Schedule (Schedule) on the
Defendant(s) along with the Summons and Complaint/Petition. Otherwise, the Plaintiff shall serve the Schedule on the
Defendant(s) within 10 days after the later of (1) the filing of the Summons and Complaint/Petition or(2) service of
the Defendant's first responseto the Complaint/Petition,whetherthat response is a Notice ofAppearance, a response,
or a Civil Rule 12 (CR 12) motion. The Schedule niay be served by regular mail, with proof of mailing to be filed
promptly in the form required by Civil Rule 5(CR 5).



           "I understand that I am required to giw a copy of these documents to all parties in this case."




                         PRINT NAME                                           SIGN NAME
           Case 2:18-cv-01318-RAJ Document 1-2 Filed 09/07/18 Page 6 of 23



                                                 L NOTICES (continued)

NOTICE TO ALL PARTIFS:
All attorneys and parties should make themselves familiar with the King County Local Rules [KCLCR] -- especially
those refen•ed to in this Schedule. In order to comply with the Schedule, it will be necessary for attorneys and parties to
pursue their cases vigorously from the day the case is filed. For exxaniple, discovery must be undertaken proniptly in
orderto comply with thedeadlines for joining additional parties, clainis, and defenses, for disclosing possiblewitnesses
[See KCLCR 26], and for meeting the discovery cutoffdate [See KCLCR 37(g)].

CROSSCLAIMS, COUNTERCLAIMS AND THIltD PARTY COMPLAINTS:
A filing fee of $240 must be paid when any answer that includes additional claim.s is filed in an existing case.

KCLCR 4.2(a)(2)
A Confinnation of Joinder, Claims and Defenses or a Statement of Arbitrability must be filed by the deadline in the
schedule. The court will review the confimnation of joinder document to determine if a hearing is required. If a Show
Cause orderis issued,all parties cited in the ordermust appearbefore their Chief Civil Judge.

PENDING DUE DATES CANCELED BY FILING PAPERS THAT RESOLVE THE CASE:
When a final decree, judgment, or order of disniissal of all parties and claims is filed with the Superior Court Clerk's
Office, and a courtesy copy delivered to the assigned judge, all pending due dates in this Schedule are automatically
canceled, including the scheduled Trial Date. It is the responsibility ofthe parties to 1) file such dispositive documents
within 45 days ofthe resolution ofthe case, and 2) strike any pending motions by notifying the bailiff to the assigned
judge.

Parties may also authorize the Superior Court to strike all pending due dates and the Trial Date by filing a Notice of
Settlement pursuant to KCLCR 41, and forwarding a courtesy copy to the assigned judge. If a final decree, judgment or
orderof dismissal ofall parties and claims is notfiled by 45 days after a Notice of Settlement, the casemay bedismissed
with notice.

If you miss your scheduled Trial Date, the Superior Court Clerk is authorized by KCLCR 41(b)(2)(A) to present an
Order of Dismissal, without notice, for failure to appear at the scheduled Trial Date.

NOTICES OF APPEARANCE OR WTITIDRAWAL AND ADDRESS CIIANGES:
All parties to this action must keep the court informed of theiraddresses. When a Notice of Appearance/W ithdrawal or
Notice ofChange of Address is filed with the Superior Court Clerk's Office, parties must provide the assigned judge
with a courtesy copy.

ARBITRATION FILING AND TRIAL DE NOVO POST ARBTIRATION FEE:
A Statement of Arbitrability must be filed by the deadline on the schedule if the case is subject to mandatory
arbitration and service ofthe original complaint and all answers to claims, counterclaims and cross-claims have been
filed. If mandatory arbitration is required after the deadline, parties must obtain an order from the assigned judge
transfen-ing the caseto arbitration. Any party filing a Statement must pay a$220 arbitration fee. If a party seeks a
trial de novo when an arbitration award is appealed, a fee of $250 and the request for trial de novo must be filed with the
Clerk's Office Cashiers.

NOTICE OF NON-COMPLIANCE FEES:
All parties will be assessedafee authorized by King County Code 4A.630.020 whenever the Superior Court Clerk must
sendnoticeofnon-compliance of schedule requirements and/orLocal Civil Rule 41.

              King County Local Rules are available for viewing at wvvwkingcountv.gov/courts/clerk.
                Case 2:18-cv-01318-RAJ Document 1-2 Filed 09/07/18 Page 7 of 23



                                                                  II. CASE SCHEDULE


         CASE EVENTS                                                                                                DATE
         Case Filed and Schedule Issued.                                                                          8/10/2018
         Last Day for Filing Statement of Arbitrability without a Showing of Good Cause for Late Filing [See      1/18/2019
         KCLMAR2.1(a) andNotices on page 2. $220Arbitrafion fee must be paid
         DEADLINE to file Confnnation ofJoinder if not subjectto Arbitration [See KCLCR 4.2(a) and                1/18/2019
         Notices on page 2
         DEADLINE for Hearing Motions to Chan e Case Assi nmentArea CL.CR 82 e                                     2/1/2019
         DEADLINE for Disclosure ofPossible Prirnaty Witnesses SeeKCLCR 26 k                                      3/11/2019
         DEADLINE for Disclosure ofPossible Additional Witnesses CLCR 26 k                                        4/22/2019
         DEADLINE for Jury Deniand See KCLCR 38 b 2                                                                5/6/2019
         DEADLINE for Chan e in Trial Date See KCLCR 40 e 2                                                        5/6/2019
         DEADLINE for Discovery Cutoff See KCLCR 37                                                               6/24/2019
         DEADLINE for Fngaging in Alternative Dis ute Resolution See KCLCRI6                                      7/15/2019
         DEADLINE for Exchan e Witness & Exdtibit Lists & Documentary Exhibits See KCLCR                          7/22/2019
         DEADLINE to file Joint Confirmation of Trial Readiness See KCL.CR 16 a 1                                 7/22/2019
         DEADLINE for Hearing Dis ositive Pretrial Motions See KCLCR 56;CR56                                      7/29/2019
         Joint Statement ofEvidence See KCLCR 4                                                                    8/5/2019
         DEADLINE for filing Trial Briefs, Proposed Findings of Fact and Conclusions of Law and Jury               8/5/2019
         Instructions (Do not file proposedFindings of Fact and Conclusion ofLaw with the Clerk)
         Trial Date See KCLCR 40                                                                                  8/12/2019
  The   indicates a document that must be filed with the Superior Court Clerk's Office by the date shown.


                                                                       I I I wo 'tl aI'


  Pursuantto King County Local Rule 4[KCLCR 4], IT IS ORDERED that the parties shall comply with the schedule
  listed above. Penalties, including but not limited to sanctions set forth in Local Rule 4(g) and Rule 37 ofthe Superior
  Court Civil Rules, may be imposed for non-compliance. It is FURTHER ORDERED that the party filing this action
  must serve this Order Setting Civil Case Schedule and attachment on all other parties.




DATED:       8/10/2018
                                                                                          PRESIDING JUDGE
           Case 2:18-cv-01318-RAJ Document 1-2 Filed 09/07/18 Page 8 of 23




                     IV. ORDER ON CIVII, PROCEEDINGS FOR ASSIGNMENT TO JUDGE

READ TfIIS ORDER BEFORE CONTACTING YOUR ASSIGNFA JUDGE.
This case is assigned to the Superior Court Judge whose name appears in the caption of this case schedule. The
assigned Superior Court Judge will preside over and nianage this case for all pretrial niatters.

COMPLEX LTTIGATION: If you anticipate an unusually complex or lengthy trial, please notify the assigned court
as soon as possible.

APPLICABLE RULES: Except as specifically modified below, all the provisions ofKing County Local Civil Rules 4
through 26 shall apply to the processing of civil cases before Superior Court Judges. The local civil rules can be found
at www.kingcounty_gov/courts/clerk/rules/Civil.

CASE SCIIEDULE AND REQUII2EMENTS: Deadlines are setby thecase schedule, issued pursuant to Local Civil
Rule 4.

THE PARTIES ARE RESPONSIBLE FOR KNOWING AND COMPLYING WITH ALL DEADLINES
IlVIPOSED BY TAE COURT'S LOCAL CIVIL RULES.

A. Joint Confirmation regarding Trial Readiness Report
No later than twenty one (21) days before the trial date, parties shall complete and file (with a copy to the assigned
judge) a joint confimmtion report setting forth whether a jury demand has been filed, the expected duration of the trial,
whether a settlement conference has been held, and special problems and needs (e.g., interpreters, equipment).

                                                                              ~ ounty,eov/courts/scfomis. If parties
The Joint Confimnation Regarding Trial Readiness form is available at www.kin_c
wish to request a CR 16 conference, they must contactthe assigned court. Plaintiff's/petitioner's counsel is responsible
for contacting the other parties regarding the report.

B. Settlement/Mediation/ADR
a. Forty five (45) days before the trial date, counselfor plaintifff/petitioner shall submit a written settlement
demand. Ten (10) days afterreceiving plaintifl's/petitioner's written demand, counselfor defendant/respondentshall
respond (with a counter, offer, if appropriate).

b. Twenty eight (28) days before the trial date, a Settlement/Mediation/ADR conference shall have been
held. FAILLJRE TO COMPLY WITH THIS SETTLEMENT CONFERENCE REQUIREMENT MAY RESULT IN
SANCTIONS.

C. Trial
Trial is scheduled for 9:00 a.m. on the date on the case schedule or as soon thereafter as convened by the court. The
Friday before trial, the parties should access the court's civil standby calendaron the King County Superior Court
website Www.kingcoullty.gov/courts/superiorcourt toconfum thetrial judge assignment.

MOTIONS PROCEDURES
A. Noting of Motions
Dispositive Motions: All summary judgment or other dispositivemotions will be heard with oral argument before the
assigned judge. The moving party must arrange with the hearing judge a date and time for the hearing, consistent with
the court rules. Local Civil Rule 7 and Local Civil Rule 56 govem procedures for summary judgment or other motions
that dispose ofthe case in whole or in part. The local civil rules can be found at
www.kingcountv.g}v/courts/clerk/rules/Civil.

Non-dispositive Mofions: These motions, which include discovery motions, will be ruled on by the assigned judge
without oral argument, unless otherwise ordered. All such motions must be noted for a date by which the ruling is
requested; this date must likewise confonn to the applicable notice requirements. Rather than noting a time of day, the
           Case 2:18-cv-01318-RAJ Document 1-2 Filed 09/07/18 Page 9 of 23



Note for Motion should state "Without Oral Argument." Local Civil Rule 7 governs these motions, which include
discovery niotions. The local civil rules can be found at www.kingcounty.eov/courts/clerk/rules/Civil.

Mot'ions in Family Law Cases not involving children: Discovery motions to compel, motions in limine, motions
relating to trial dates and motions to vacate judgments /dis miss als shall be brought before the assigned judge. All other
motions should be noted and heard on the Family Law Motions calendar. Local Civil Rule 7 and King County Family
Law Local Rules govern these procedures. The local rules can be found at www.kinPcounty.gov/courts/clerk/rules.
Frnergency Motions: Under the court's local civil rules, emergency motions will usually be allowed only upon entry
of an Order Shortening Time. However, some emergency motions may be brought in the Ex Parte and Probate
Department as expressly authorized by local rule. In addition, discovery disputes may be addressed by telephone call
and without written motion, if the judge approves in advance.
B. Original Documents/Working Copies/ Fling of Documents: All original documents must be filed with the
Clerk's Office. Please see infonnation on the Clerk's Offiice website at www.kin~countxeov/courts/clerk regarding
the requirement outlined in LGR 30 that attorneys must e-file documents in King County Superior Court. The
exceptions to the e-filing requirement are also available on the Clerk's Office website. The local rules can be found at
www.kin2county.eov/courts/clerk/rules.

The working copies of all documents in support or opposition must be marked on the upperright corner of the first page
with the date of consideration or hearing and the nanie of the assigned judge. The assigned judge's working copies
must be delivered to his/her courtroom or the Judges' mailroom Working copies of motions to be heard on the Family
Law Motions Calendar should be filed with the Family Law Motions Coordinator. Working copies can be submitted
through the Clerk's office FrFiling application at www.kingcounty.eov/courts/clerk/documents/eWC.

Service of documents: Pursuantto Local General Rule 30(b)(4)(B), e-filed documents shall be electronically served
through the e-Service feature within the Clerk's eFiling application. Pre-registration to accept e-service is required. E-
Service generates a record ofservice document that can be e-filed. Please seethe Clerk's office website at
www.kinecountv.sov/courts/clerk/documents/efiling regarding E-Service.
Original Proposed Order: Each ofthe parties must include an original proposed ordergranting requested relief with
the working copy niaterials submitted on any motion. Do not file the original of the proposed order with the Clerk
of the Court. Should any party desire a copy of the order as signed and filed by the judge, a pre-addressed, stamped
envelope shall accompany the proposed order. The court may distribute orders electronically. Review the judge's
website for information: www.kingcounty.gov/courts/SuperiorCourt/jud es.
Presentation of Orders for Signature: All orders must be presented to the assigned judge or to the Ex Parte and
Probate Department, in accordance with Local Civil Rules 40 and 40.1. Such orders, if presented to the Ex Parte and
Probate Department, shall be submitted through the E-Filing/Ex Parte via the Clerk application by the attomey(s) of
record. E-filing is notrequired for self-representedparties (non-attomeys). If the assignedjudge is absent, contact the
assigned courtfor further instructions. If anotherjudge enters an order on the case, counselis responsible for providing
the as signedjudgewith a copy.
Proposed orders finalizing settlement and/or dismissal by agreement of all parties shall be presented to the Ex ~
Parte and Probate Department. Such orders shall be submitted through the E-Filing/Ex Parte via the Clerk
application by the attorney(s) ofrecord. E-filing is not required for self-represented parties (non-attorneys). Formal
proof in Family Law cases must be scheduled before the assigned judge by contacting the bailiff, or formal proofniay
be entered in the Ex Parte Department. If final order and/or formal proof are entered in the Flc Parte and Probate
Department, counsel is responsible for providing the assigned judge with a copy.

C. Form
Pursuantto Local Civil Rule 7(b)(5)(B), the initial motion and opposing memorandum shall not exceed 4,200 words
and reply memoranda shall not exceed 1,750 words without authorization of the court. The word count includes all
portions of the document, including headings and footnotes, except 1) the caption; 2) table of content s and/or
authorities, if any; and 3): the signature block. Over-length memoranda/briefs and motions supported by such
memoranda/briefs may be stricken.
       Case 2:18-cv-01318-RAJ Document 1-2 Filed 09/07/18 Page 10 of 23



IT IS SO ORDERED. FAIL URE TO COMPLY WITH THE PROVISIONS OF THIS ORDER MAY RESULT IN
DISMISSAL OR OTHER SANCTIONS. PLAINTIFF/PEITITONER SHALL FOR WARD A COPY OF THIS
ORDER AS SOON AS PRACTICABLE TO ANY PARTY WHO HAS NOT RECEIVED THIS ORDER.
                                                                     A
                                                     PRES ID IN G JUD GE
          Case 2:18-cv-01318-RAJ Document 1-2 Filed 09/07/18Insurance
                                                               Page Commissioner
                                                                      11 of 23
                                                                         ACCEPTED SOP
 1                                                                          AUG 16 2018
 2                                                                        TIME:— ?"A _

 3

 4

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 6

 7I
                      COURT OF WASHINGTON FOR COUNTY OF KING
 8

 9
      LISA KRISTIN STANISLAW,                            N0. 18-2-20254-0 SEA
10                                                       SUMMONS ON COMPLAINT FOR
          Plaintiff                                      DAMAGES
11

12                           vs

13
   USAA CASUALTY INSURANCE
14
   COMPANY,

          Defendant
15

16

17
      To: USAA Casualty Insurance Company:
18
             A lawsuit has been started against you in the above-entitled court by the above-
19
      named Plaintiff. Her claims are stated in the written complaint, a copy of which is served
20
      upon you with this summons.
21
             In order to defend against this lawsuit, you must respond to the complaint by
22
      stating your defense in writing, and serve a copy upon the undersigned attorney for the
23
      Plaintiff within twenty (20) days after service of this summons, excluding the date of
24

25                                                                               ADLERGIERSCH.P.S.
                                                                                    Attorneys at Law
26     SUMMMONS ON COMPLAINT- 1                                                 333 Taylor Avenue North
                                                                                   Seattle, WA 98109      I
                                                                                   Tel (206) 682-0300
27                                                                                Fax (206) 224-0102
         Case 2:18-cv-01318-RAJ Document 1-2 Filed 09/07/18 Page 12 of 23


 1
     service, or a default judgment may be entered against you without notice. If you serve a
 2
     notice of appearance on the undersigned attorney, you are entitled to notice before a
 3
     default judgment may be entered.
 4
             You may demand that the Plaintiff file this lawsuit with the court. If you do so, the
 5
     demand must be in writing and must be served upon the person signing this summons.
 6
     Within fourteen (14) days after you serve the demand, the Plaintiff must file this lawsuit
 7   with the court, or the service on you of this summons and complaint will be void.
 8           If you wish to seek the advice of an attorney in this matter, you should do so

 9   promptly so that your written response, if any, may be served on time. This summons is

10   issued pursuant to Rule 4 of the Superior Court Civil Rules of the State of Washington.

11

12   I Dated: August 10, 2018

13

14                                               ADLER GIERSCH PS

15                                                 s/ Melissa D. Carter
                                                 MELISSA D. CARTER
16                                               WSBA # 36400
                                                 Adler Giersch ps
17                                               333 Taylor Ave N
                                                 Seattle, WA 98109
18                                               Telephone: (206) 682-0300
                                                 Fax: (206) 224-0102
19
                                                 Email: mdcarter@adlergiersch.com

20
       File Response with:                           Serve a copy of your Response on:
21                                                   Melissa D. Carter
       Clerk of the Court
                                                     Adler Giersch ps
22                                                   333 Taylor Ave N
                                                     Seattle, WA 98109
23

24

25
                                                                                 ADLER GIERSCH. P.S.
                                                                                    Attorneys at Law
26 I SUMMMONS ON COMPLAINT- 2                                                   333 Taylor Avenue North
                                                                                  Seattle, WA 98109
                                                                                   Tel (206) 682-0300
27                                                                                Fax (206) 224-0102
         Case 2:18-cv-01318-RAJ Document 1-2 Filed 09/07/18Insurance
                                                              Page 13  of 23
                                                                     Commissioner
                                                                           ACCEPTED.SOP
                                                                               AUG 16 2018
 1                                                                           TIME:

 2

 3

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 7
                      COURT OF WASHINGTON FOR COUNTY OF KING
 8

 9
                                                           NO. 18-2-20254-0 SEA
      LISA KRISTIN STANISLAW,
10
          Plaintiff                                        COMPLAINT FOR DAMAGES
11

12                            vs

13
   USAA CASUALTY INSURANCE
14,COMPANY,
          Defendant
15,

16

17
             Lisa Kristin Stanislaw, by and through her attorneys of record, Melissa D. Carter
18
      of Adler Giersch Ps, for cause of action for personal injuries against Defendant USAA
19
      Casualty Insurance Company ("USAA"), complains and alleges as follows:
20
                                               I. PARTIES
21
             1.1      Plaintiff Lisa Kristin Stanislaw (hereinafter, "Kristin Stanislaw") is a
22
      single woman who at all relevant times was a resident of Seattle, King County,
23

24 Washington.
                                                                                     ADLER GIERSCH. P.S.
25                                                                                       Attorneys at Law
      wK•lui9w~i.18 acerM~~I► r:TeMMi                                                333 Taylor Avenue North
26                                                                                      Seattle, WA 98109
                                                                                       Tel (206) 682-0300
                                                                                       Fax (206) 224-0102
27
        Case 2:18-cv-01318-RAJ Document 1-2 Filed 09/07/18 Page 14 of 23



 1           1.2     Defendant USAA Casualty Insurance Company ("USAA") is a foreign

 2    corporation engaged in the business of selling insurance in King County, Washington.
 3
             1.3     At all material times, Defendant USAA was an insurance company
 4
      licensed to sell automobile insurance in the state of Washington and maintained offices in
 5
      King County, Washington.
 6
             1.4     The registered agent for Defendant USAA is located at the Office of the
 7
      Insurance Commissioner, Service of Process, P.O. Box 40257, Olympia, Washington
 8
      98504-0257, 5000 Capitol Blvd, Tumwater, Washington 98501.
 9

             1.5     The contract of insurance between the Plaintiff and Defendant was
10

11    executed in King County, Washington.

12                               II. JURISDICTION AND VENUE

13           2.1     All acts hereinafter alleged occurred within the County of King, State of

14    Washington, and this Court has jurisdiction over this cause.
15
             2.2     Venue is proper in the Superior Court, County of King, State of
16
      Washington.
17
                                             I11. FACTS
18
             3.1     On or about August 5, 2014, Plaintiff Kristin Stanislaw was traveling
19
      northbound on Elliot Ave W in Seattle, Washington in the far right exit lane for
20
      Magnolia-bound traffic. In that location, Elliot Ave W was a multi-lane highway that
21

      consisted of two southbound lanes, a turn lane, and three northbound lanes. The far right
22'

23    northbound lane, in which Ms. Stanislaw was traveling, was an "Exit Only" lane for

24    motorists accessing the Magnolia Bridge. Traffic in the first two northbound lanes was
                                                                                ADLER GIERSCH, P.S.
25                                                                                  Attorneys at Law
       COMPLAINT FOR DAMAGES - 2                                                333 Taylor Avenue North
26                                                                                 Seattle, WA 98109
                                                                                   Tel (206) 682-0300
                                                                                   Fax (206) 224-0102
27
          Case 2:18-cv-01318-RAJ Document 1-2 Filed 09/07/18 Page 15 of 23




 1     heavy and blocked, but vehicles in Ms. Stanislaw's "Exit Only" lane were traveling at or

 2     above the 45 mile per hour speed limit.
 3
               3.2     At the same time, underinsured motorist Brian Ahrens was traveling
 4
       southbound on Elliot Ave W, and wished to turn left across the three northbound lanes, to
 5
       access a pizza restaurant. The first two northbound lanes of jammed traffic opened up for
 6
       Mr. Ahrens, but he neglected to check for traffic coming at full speed in the Exit Only
 7
       lane: Mr. Ahrens turned directly into the path of Ms. Stanislaw's vehicle, causing her to
 8
       strike his vehicle head on. Ms. Stanislaw's vehicle was totaled as a result.
 9

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21             3.3     The Seattle Police Department responded to the 911 calls and cited Mr.

22     Ahrens for failing to yield the right of way on a left turn.
23
               3.4     Plaintiff Kristin Stanislaw suffered serious injuries and damages as a result
24

                                                                                   ADLER GIERSCH. P.S. I
25                                                                                     Attorneys at Law
        COMPLAINT FOR DAMAGES - 3                                                  333 Taylor Avenue North
26                                                                                    Seattle, WA 98109
                                                                                      Tel (206) 682-0300
                                                                                     Fax (206) 224-0102
27
           Case 2:18-cv-01318-RAJ Document 1-2 Filed 09/07/18 Page 16 of 23




  1     of the motor vehicle collision. In addition to other injuries, Ms. Stanislaw sustained

 2      Burning Mouth Syndrome from the collision, which impacted her ability to talk and
 3
        ultimately impaired her ability to continue working as a Brand Manager for her company.
 4
        Ms. Stanislaw is now unable to work and requires ongoing medical care to manage her
  5
        symptoms caused by the collision.
 6
                3.5     Mr. Ahrens carried liability insurance with Allstate Insurance, with just
 7
        $100,000.00 bodily injury limits in effect at the time of this collision.
  8
                3.6     Allstate accepted full liability and tendered the liability policy limits of
 9

        $100,000.00 to Plaintiff Kristin Stanislaw on or about July 5, 2017.
10

11              3.7     Plaintiff s settlement with the underinsured driver/registered owner for the

12      policy limits of $100,000.00 did not make her whole.

13              3.8     At the time of the August 5, 2014 motor vehicle collision, Plaintiff Kristin

14 I    Stanislaw carried underinsured motorist coverage in the amount of $1,000,000.00 with
15 1i
        Defendant USAA under policy number 01005 84 77C 7101 0("the Policy.").
16
                3.9     On or about July 12, 2017, Defendant USAA waived its rights to buy out
17
        the third parry claim and permitted Ms. Stanislaw to settle with the underinsured driver
18
        for the third parry liability limits.
19
                3.10 Pursuant to the Policy, Defendant USAA is contractually obligated to pay
20
        for all damages Plaintiff is legally entitled to recover from the underinsured motorist in
21
        excess of the underinsured driver's policy limits of $100,000.00, up to the Underinsured
22

23      Motorist (UIM) limits of the Policy of $1,000,000.00.

24              3.11 On September 12, 2017, Plaintiff submitted her 30-day deadline, policy
                                                                                       ADLER GIERSCH, P.S.
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 1 I limits Underinsured Motorist settlement demand to Defendant USAA. The demand letter

 2   was 52 pages long, and was accompanied by 998 pages of supporting records that
 3
      included medical documentation and past bills exceeding $137,209.00, multiple narrative
 4
     medical reports confirming causation between the subject collision and the injuries, loss
 5
      of income statements, vocational assessments, an economic loss report exceeding
 6
     $2,000,000.00, a 30-minute DVD with 4 witness testimonials, and an additional 700+
 7
     pages compiling Ms. Stanislaw's 25-year successful vocational history, via personnel
 8
     records, with one company.
 9
             3.12 USAA responded to the demand that it needed more time to review the
10

11   materials, which Ms. Stanislaw permitted.

12           3.13 In the meantime, Ms. Stanislaw continued to present medical bills related

13   I to treatment for her injuries from the collision under her PIP benefits from the same

14   USAA policy. USAA hired a records reviewer to determine if Ms. Stanislaw's medical
15
     treatment was reasonable, necessary, and related to the collision, and determined that it
16
     was indeed all related. USAA paid the full PIP limits for related medical care expenses
17
     of $100,000.00. Ms. Stanislaw's related medical expenses continued to accrue after this.
18
             3.14 On November 17, 2017, USAA responded to Ms. Stanislaw's settlement
19
     demand with an insufficient offer in the amount of $108,515.00 to resolve the UIM claim
20
     in its entirety, without having conducted a full medical records review, without asking for
21
     an Insurance Medical Examination, and without even asking to interview its insured. At
22

23   that point, the only relevant "medical records review" in Ms. Stanislaw's file was a report

24   from a hired dental specialist, Michele Schultz, DMD, who opined in a private letter to
                                                                                  ADLER GIERSCH, P.S.
25                                                                                   Attorneys at Law
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 1   USAA on August 28, 2017 that Ms. Stanislaw's Burning Mouth Syndrome and nerve

 2   pain in the neck and jaw originated from the August 5, 2014 collision and USAA paid her
 3
     pending medical bills in full, up to her limit of $100,000.00, as a result. Despite knowing
 4
     this, USAA offered just $108,515.00 on November 16, 2017 to resolve Ms. Stanislaw's
 5
     severe injury UIM claim, essentially compelling its insured to initiate or submit to
 6
     litigation to recover amounts due to her under her policy.
 7
            3.15 On December 14, 2017, USAA retained private counsel who reached out
 8
     to Ms. Stanislaw's counsel to ask for medical records dating back more than 20 years, for
 9
     her deposition and for Insurance Medical Examinations to complete USAA's
10

lll investigation of her UIM claim. Ms. Stanislaw agreed and cooperated with the request.

12          3.16 USAA took another two months to conduct the deposition of Kristin

13   Stanislaw, which concluded after two days of testimony on February 23, 2018. Due to

14   her documented injuries, including Burning Mouth Syndrome, Ms. Stanislaw experienced
15
     extreme pain during the two days of testimony by being forced to talk for multiple hours.
16
     Nevertheless, she cooperated.
17
            3.17 Nine months after she submitted her demand time-sensitive, 30=day
18
     demand, USAA finally arranged for the Insurance Medical Examinations to go forward.
19
     Ms. Stanislaw complied and attended 4 exams, one of which was joint with two different
20
     providers, all in June, 2018.
21
            3.18 USAA's hired doctors concluded that Ms. Stanislaw does indeed suffer
22

23   from Burning Mouth Syndrome, a serious condition that is permanent, causes debilitating

24   pain, and is exacerbated by talking. USAA's own hired doctor opines that Ms. Stansilaw
                                                                                ADLER GIERSCH P.S.
25                                                                                  Attorneys at Law
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 1    will not be able to work because of her significant disability caused by the Burning

 2    Mouth Syndrome.
 3
              3.19 Eleven months after Ms. Stanislaw submitted a detailed settlment demand
 4
      to resolve her UIM claim, and after forcing Ms. Stanislaw to provide records that span
 5
      back more than 20 years, forced her to testify for two days, and made her submit herself
 6
      to four instrusive medical examinations, USAA increased its UIM settlement offer to
 7
      $125,000.00, a$17,000.00 increase. USAA provided no explanation for this
 8
      unreasonably low settlement offer.
 9

10
              3.20 USAA's offer to resolve Ms. Stanislaw's UIM claim does not cover her
11
      related medical expenses, future medical expenses, related past and future lost earning
12
      capacity, or her related pain and suffering directly caused by the subject motor vehicle
13
      collision.
14
              3.21 USAA failed to conduct a prompt or reasonable investigation into Ms.
15
      Stanislaw's UIM claim.
16'

              3.22 USAA's position requires that Ms. Stanislaw incur fees and costs in filing
17I

18    a lawsuit against her own insurance company to determine the fair and reasonable value
  1
19 of her Underinsured Motorist claim.

20                                    III. CAUSES OF ACTION

21            4.1      Plaintiff re-asserts and re-alleges paragraphs l.l through 3.22 set forth
22
      above, herein.
23
              4.2      Defendant's actions constitute a breach of the Policy, per the express and
24

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 1   implied terms of the contract with Plaintiff, a long-time USAA insured.

 2          4.3     As a proximate result of Defendant's breaches, the Plaintiff has suffered
 3
     injuries and damages as a result of Defendant's breach of contract.
 4
            4.4     Defendant's actions are also negligent and in violation of its duty to
 5
     exercise reasonable care, good faith and fair dealing towards its insured, including a
 6
     violation of RCW 48.30.010, et seq. Among other acts, Defendant negligently failed to
 7
     effectuate a prompt, fair and equitable settlement of Plaintiff's Underinsured Motorist
 8
     claims according to the terms of the Policy, and forced its insured to submit this matter to
 9
     litigation to recover amounts due to her under the Policy.
10

11          4.5     Plaintiff has suffered injuries and damages as a result of Defendant's

12   negligence.

13                             V. UNIFORM HEALTH CARE ACT

14
            5.1     Pursuant to RCW 5.60.060(4) and the provisions of the Uniform Health
15
     Care Information Act, RCW 42.17 and RCW Chapter 70, the Plaintiff waives the
16
     physician/patient privilege 90 days from the date this complaint was filed, to the extent
17
     necessary to place any and all alleged damages at issue at the time of trial, and as might
18
     be required by any act or statute or case law interpreting the same in the State of
19
     Washington. In doing so, Plaintiff does not waive her right to seek a protective order or
20
     otherwise oppose objectionable medical discovery. Plaintiffls waiver is further
21
     conditioned and limited as follows:
22
            a.      The Plaintiff does not waive her constitutional right of privacy;
23

24

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 1
              b.       The Plaintiff does not authorize the Defendant or Defendant's
 2
      representative to contact her health care providers without notice to counsel, after which
 3
      they may only be contacted in a manner with complies with the Uniform Health Care
 4
      Information Act and HIPAA, in proceedings further authorized by the Rules of Civil
 5
      Procedure subject to any provisions which may be established by this court.
 6

 7                                    VI. PRAYERS FOR RELIEF

 8            Wherefore, Plaintiff Kristin Stanislaw requests judgment against the Defendant

 9    USAA as follows:
10
              6.1      For general damages already incurred and future general damages, in an
11
      amount now unknown, which will be proved at the time of trial;
12
              6.2      For medical and other treatment expenses incurred and for future medical
13
      expenses and other treatment expenses and other costs, in an amount now unknown,
14
      which will be proved at the time of trial;
15
              6.3      For loss of earnings and/or earning capacity;
16

17            6.4      For damage to, loss of, or loss of use of Plaintiff's personal property;

18            6.5      For additional travel expenses;

19            6.6      For reasonable attorneys fees and costs incurred herein:

20            6.7      For prejudgment interest;

21                     For such other and further relief as this Court may deem just and equitable
              6.8
22
      in this cause.
23

24

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~   1   !         Case 2:18-cv-01318-RAJ Document 1-2 Filed 09/07/18 Page 22 of 23




             1 Dated: August 10, 2018

             2

             3

             4
                                                 ADLER GIERSCH PS
             5

             6
                                                 /S/ Melissa D. Carter
             7                                   Melissa D. Carter
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             8
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